Case 6:19-cv-00849-RBD-DCI Document1 Filed 05/03/19 Page 1 of 9 PagelID 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
ROBERT ANDERSON,
Plaintiff, CASE NO.:
vs,
FIFTH THIRD BANK,
Defendant.
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, ROBERT ANDERSON, by and through the undersigned
counsel, and sues Defendant, FIFTH THIRD BANK, and in support thereof respectfully alleges
violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seg. (“TCPA”’) and the
Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (““FCCPA”).

INTRODUCTION

1. The TCPA was enacted to prevent companies like FIFTH THIRD BANK from
invading American citizen’s privacy and prevent abusive “robo-calls.”

Ze “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.”” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
Case 6:19-cv-00849-RBD-DCI Document1 Filed 05/03/19 Page 2 of 9 PagelD 2

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242 (11" Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
are far and away the biggest consumer complaint to the FCC with over 200,000 complaints each
year — around 60 percent of all the complaints...Some private analyses estimate that U.S.
consumers received approximately 2.4 billion robocalls per month in 2016.”
https://www.fcc.gov/about-fcc/fec-initiatives/fecs-push-combat-robocalls-spoofing

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

2 Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(ii). See
Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,
746 F.3d 1242, 1249 (11"™ Cir. 2014)

8. The alleged violations described herein occurred in Seminole County, Florida.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the
judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.
Case 6:19-cv-00849-RBD-DCI Document1 Filed 05/03/19 Page 3 of 9 PagelD 3

FACTUAL ALLEGATIONS

9, Plaintiff is a natural person, and citizen of the State of Florida, residing in
Seminole County.

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. Plaintiff is an “alleged debtor.”

12, Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11" Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11" Cir. 2014).

13. Defendant, FIFTH THIRD BANK, is a corporation and national association
which was formed in Cincinnati, Ohio with its principal place of business located at 38 Fountain
Square Plaza, Cincinnati, Ohio 45263 and which conducts business in the State of Florida
through its registered agent, Corporation Service Company located at 1201 Hays Street,
Tallahassee, Florida 32301.

14. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

15. Defendant is a “creditor” as defined in Florida Statute §559.55(5).

16. Defendant called Plaintiff on Plaintiff's cellular telephone approximately one
hundred (100) times a day in an attempt to collect a debt.

17. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

18. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

19. Some or all of the calls the Defendant made to Plaintiff's cellular telephone

number were made using an “automatic telephone dialing system” which has the capacity to
Case 6:19-cv-00849-RBD-DCI Document1 Filed 05/03/19 Page 4 of 9 PagelD 4

store or produce telephone numbers to be called, using a random or sequential number generator
(including but not limited to a predictive dialer) or an artificial or prerecorded voice; and to dial
such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter ‘“‘autodialer calls”). Plaintiff will
testify that he knew it was an autodialer because of the vast number of calls he received and he
would hear a pause and/or a beep before someone came to the line.

20. Plaintiff believes the calls were made using equipment which has the capacity to
store numbers to be called and to dial such numbers automatically.

21, Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (407) *** -3844, and was the called party and recipient of Defendant’s calls.

22, Defendant placed an exorbitant number of calls to Plaintiff's cellular telephone
(407) *** -3844 in an attempt to collect on a debt.

23. On several occasions over the last four (4) years Plaintiff instructed Defendant’s
agent(s) to stop calling his cellular telephone.

24. In or about November of 2018, Plaintiff communicated with Defendant from his
aforementioned cellular telephone number and instructed Defendant’s agent to cease calling as
he is at work and they are a nuisance.

22 During the aforementioned call with Defendant’s agent in or about November of
2018, Plaintiff unequivocally revoked any express consent Defendant may have believed they
had for placement of telephone calls to Plaintiff's aforementioned cellular telephone number by
the use of an automatic telephone dialing system or a pre-recorded or artificial voice.

26. Each subsequent call Defendant made to the Plaintiff's aforementioned cellular

telephone number was made without the “express consent” of the Plaintiff.
Case 6:19-cv-00849-RBD-DCI Document1 Filed 05/03/19 Page 5 of 9 PagelID 5

2]. Each subsequent call the Defendant made to the Plaintiff's aforementioned
cellular telephone number was knowing and willful.

28. Despite actual knowledge of its wrongdoing, Defendant continued the campaign
of abuse, calling Plaintiff despite Plaintiff revoking any express consent Defendant may have
believed it had to call his aforementioned cellular telephone number.

29. Again, in or about February of 2019, Plaintiff communicated with Defendant’s
agent from his aforementioned cellular telephone number and demanded Defendant’s agent to
cease calling.

30. Due to the constant barrage of telephone calls from Defendant. Again in or about
March of 2019, Plaintiff communicated again with Defendant’s agent from his aforementioned
cellular telephone number and advised Defendant’s agent that there was an error on his account
and to cease calling.

OL. Plaintiff's requests for the harassment to end were in vain as Defendant continues
to call Plaintiff.

32. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to Plaintiff's cellular telephone in
this case.

33. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to Plaintiff's cellular telephone in
this case.

34. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to Plaintiffs cellular telephone in this case, with no

way for the consumer, Plaintiff, or , to remove the number.
Case 6:19-cv-00849-RBD-DCI Document1 Filed 05/03/19 Page 6 of 9 PagelD 6

35.  Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff; despite these individuals explaining to Defendant they wish for the calls to stop.

36. | Defendant has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

Sis Defendant has numerous complaints across the country against it asserting that its
automatic telephone dialing system continues to call despite requested to stop.

38. Defendant has had numerous complaints from consumers across the country
against it asking to not be called; however, Defendant continues to call the consumers.

39. Defendant’s corporate policy provided no means for Plaintiff to have his number
removed from Defendant’s call list.

40. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

4l. Not a single call placed by Defendant to Plaintiff were placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

42. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

43. From each and every call placed without consent by Defendant to Plaintiff’s cell
phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon his right of
seclusion.

44. From each and every call without express consent placed by Defendant to
Plaintiffs cell phone, Plaintiff suffered the injury of occupation of his cellular telephone line and
cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant’s calls.
Case 6:19-cv-00849-RBD-DCI Document1 Filed 05/03/19 Page 7 of 9 PagelD 7

45. From each and every call placed without express consent by Defendant to
Plaintiffs cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time. For
calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for the
calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal
with missed call notifications and call logs that reflected the unwanted calls. This also impaired
the usefulness of these features of Plaintiff's cellular phone, which are designed to inform the
user of important missed communications.

46. Each and every call placed without express consent by Defendant to Plaintiff's
cell phone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls that were
answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for unanswered
calls, Plaintiff had to waste time to unlock the phone and deal with missed call notifications and
call logs that reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff's cellular phone, which are designed to inform the user of important missed
communications.

47. Each and every call placed without express consent by Defendant to Plaintiff's
cell phone resulted in the injury of unnecessary expenditure of Plaintiff's cell phone’s battery
power.

48. Each and every call placed without express consent by Defendant to Plaintiff's
cell phone where a voice message was left which occupied space in Plaintiff's phone or network.

49. Each and every call placed without express consent by Defendant to Plaintiff's
cell phone resulted in the injury of a trespass to Plaintiff's chattel, namely his cellular phone and

his cellular phone services.
Case 6:19-cv-00849-RBD-DCI Document1 Filed 05/03/19 Page 8 of 9 PagelD 8

50. As aresult of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affect in a personal and individualized way of anxiety and distress as he works
nightshift and they call during the day while he is sleeping.

COUNT I
(Violation of the TCPA)

SI. Plaintiff fully incorporates and re-alleges paragraphs one (1) through fifty (50) as
if fully set forth herein.

52. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff notified
Defendant that he wished for the calls to stop.

os repeatedly placed non-emergency telephone calls to Plaintiff's cellular telephone
using an automatic telephone dialing system or prerecorded or artificial voice without Plaintiff s
prior express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A) (iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against FIFTH THIRD BANK for statutory damages, punitive damages, actual
damages, treble damages, enjoinder from further violations of these parts and any other such
relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

54. Plaintiff fully incorporates and re-alleges paragraphs one (1) through fifty (50) as
if fully set forth herein
a. At all times relevant to this action is subject to and must abide by the laws of the

State of Florida, including Florida Statute § 559.72.
Case 6:19-cv-00849-RBD-DCI Document1 Filed 05/03/19 Page 9 of 9 PagelD 9

56. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his or her family with such frequency as can reasonably be
expected to harass the debtor or his or her family.

57. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or
her family.

58. Defendant’s actions have directly and proximately resulted in Plaintiff's prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against FIFTH THIRD BANK for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any
other such relief the court may deem just and proper.

Respectfully submitted,

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